        Case 2:13-cr-00096-WHW                      Document 35                Filed 09/17/13               Page 1 of 1 PageID: 118
                                                     FEDERAL PUBLIC DEFENDER
                                                      DISTRICT OF NEW JERSEY
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                                                                                                        I
                                                             September 13, 2013

           Honorable Wiffiam H. Walls
           United States District Judge
           Martin Luther King, Jr., Federal Bldg. & Courthouse
           50 Walnut Street
           Newark, New Jersey 07101

                             Re:
                                       Docket No. 13-00096                                                                                    C




          Dear Judge Walls,
                                                                                                                     çc
                   Defense motions in this matter are currently due on Monday, September 16,
                                                                                                                              2013.
          Defense counsel requests a 30-day extension of time in which to file motions in
                                                                                                                       this matter.
          Additional time is needed because of the voluminous discovery involved and counse
                                                                                                                             l’s
          simultaneous preparation for another trial.

                  Additional time will also allow for an additional attorney from this office (First Asst.
          Chester M. Keller) to properly prepare and assist in the defense.

                  Peter Willis, Esq. joins co-counsel in this request for an extension of time.

                  Assistant United States Attorney Rachel Honig does not object to a 30-day adjour
                                                                                                                                   nment in
          this matter.

                  Your Honor’s consideration of this request is much appreciated.




                                                                     Carol Gillen,
                                                                     Asst. Federal Public Defender

         cc:     Rachel Honig, A.U.S.A. (via e-mail)
                 Peter Willis, Esq. (via e-mail)




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